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   1   KASOWITZ BENSON TORRES LLP
       Melissa H. Dejoie (Cal. Bar No. 308014)
   2
       mdejoie@kasowitz.com
   3   2029 Century Park East, Suite 2000
       Los Angeles, California 90067
   4
       Telephone: (424) 288-7900
   5   Facsimile: (424) 288-7901
   6
       Attorneys for Defendant
   7
       ADEPT LAW FIRM
   8   Joseph S. Fogel (Cal. Bar No. 156746)
   9   joe@adeptlawfirm.com
       16133 Ventura Boulevard, Penthouse Suite
  10   Encino, California 91436-2403
  11   Telephone: (818) 986-7100
       Facsimile: (818) 986-7106
  12
  13   Attorneys for Plaintiff
  14
  15                        UNITED STATES DISTRICT COURT
  16                       CENTRAL DISTRICT OF CALIFORNIA
  17     FRANKIE MITCHELL,                              Case No. 2:20-cv-01789-MCS-AGR
  18                                                    JOINT FINAL PRETRIAL
                      Plaintiff,
  19                                                    CONFERENCE ORDER
               vs.                                      Pretrial Conference: June 7, 2021
  20
  21     NEW YORK LIFE INSURANCE                        Trial Date: June 22, 2021
         COMPANY,
  22
  23                  Defendant.
  24
  25
  26
  27
  28

                                   Joint Final Pretrial Conference Order
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                                                                        (i)
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   1         Following pretrial proceedings, pursuant to Fed. R. Civ. P. 16 and L.R. 16 IT
   2   IS ORDERED:
   3   1.    THE PARTIES AND PLEADINGS
   4         The parties are:
   5                (1)   Plaintiff Frankie Mitchell; and
   6                (2)   Defendant New York Life Insurance Company.
   7         Each of these parties has been served and has appeared.
   8         The pleadings that raise the issue are:
   9                (1)    Plaintiff’s Complaint Breach of Contract and Declaratory Relief,
  10   initially filed in the Los Angeles Superior Court on January 30, 2020.
  11                (2)    Defendant’s Answer to Complaint, initially filed in this Court on
  12   March 2, 2020.
  13         Plaintiff’s claim for Tortious Breach of the Covenant of Good Faith and Fair
  14   Dealing was dismissed on summary judgment, on March 16, 2021 (ECF No. 40).
  15   2.    JURISDICTION AND VENUE
  16         Federal jurisdiction and venue are invoked upon the following grounds:
  17         This Court has subject matter jurisdiction over this action under 28 U.S.C.
  18   § 1332(a)(1). Diversity jurisdiction exists because: (a) there is complete diversity of
  19   citizenship between Plaintiff and Defendant; and (b) the amount in controversy
  20   exceeds $75,000, exclusive of interest and costs. This Court has personal jurisdiction
  21   over the parties to this action because: (a) New York Life transacts its insurance
  22   business in California; and (b) this lawsuit arises out of an insurance contract sold in
  23   the State of California.
  24         Venue is proper in this District under 28 U.S.C. § 1391(b), (c), and (d) because
  25   Defendant has sufficient contacts to be subject to personal jurisdiction within this
  26   District and thus is a resident of this District under 28 U.S.C. § 1391(d).
  27         The facts requisite to federal jurisdiction are admitted.
  28

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   1   3.    TRIAL ESTIMATE
   2         The parties estimate the jury trial will take three to five trial days.
   3   4.    PROPOSED JURY INSTRUCTIONS
   4         This trial is to be a jury trial, except for those equitable issues to be decided by
   5   the Court. The parties filed with the Court a set of Joint Jury Instructions (Dkt. No.
   6   60) and Plaintiff’s Disputed Instructions (Dkt. No. 58).
   7   5.    ADMITTED FACTS
   8         The following facts are admitted and require no proof:
   9        1.       Defendant New York Life Insurance Company issued Policy Certificate
  10
  10   No. A6342021 on May 7, 2012 (the “Policy”).
  11
  11         2.      The Policy has a face value of $100,000.
  12
  12         3.      Plaintiff Frankie Mitchell filed his complaint against Defendant on
  13
  13   January 30, 2020.
  14
  14   6.    UNCONTESTED, THOUGH NOT ADMITTED, FACTS
  15
  15         None.
  16
  16   7.    CLAIMS AND DEFENSES OF THE PARTIES
  17
  17

  18
  18   Plaintiffs’ Claims:
  19
  19         (a)     Plaintiff plans to pursue the following claims against Defendant:
  20
  20        Claim 1: Defendant breached its duty to pay Plaintiff $100,000 pursuant to the
  21
  21   Policy.
  22
  22        Claim 3: Declaratory relief that Defendant is obligated to pay $100,000
  23
  23   pursuant to the Policy.
  24
  24         (b)     The elements required to establish Plaintiff’s claims are as follows:
  25
  25                 1.    Breach of Contract
  26
  26   To establish that Defendant breached its policies, Plaintiff must show:
  27
  27                 (1)   The Parties entered into a contract;
  28
  28

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   1                   (2)   Plaintiff did all, or substantially all, of the significant things that the
   2   contract required it to do, or that it was excused from doing those things;
   3                   (3)   All conditions required by the contract for Defendant’s performance
   4   had occurred;
   5                   (4)   Defendant failed to do something that the contracts required it to do;
   6   and
   7                   (5)   Plaintiff was harmed by that failure. See CACI 303 (2013).
   8                   2.    Declaratory Relief
   9           The evidence in support of Plaintiff’s claim for declaratory relief includes:
  10
  10                   (1)   An actual and substantial controversy has arisen, and now exists,
  11
  11   between Plaintiff and Defendant concerning Defendant’s duties under its Policy;
  12
  12                   (2)   The parties have adverse legal interests;
  13
  13                   (3)   The controversy is of sufficient immediacy and reality to warrant
  14
  14   the issuance of a declaratory judgment; and
  15
  15                   (4)   A judicial declaration is necessary and appropriate in order to
  16
  16   determine the respective rights and obligations of the parties.
  17
  17   See 28 U.S.C. § 2201; Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d 1220, 1222-23 (9th Cir.
  18
  18   1998)
  19
  19           (c)     In brief, the key evidence Plaintiff relies on for each of its claims is
  20
  20   as follows:
  21
  21                   1.    Breach of Contract
  22
  22           The evidence in support of Plaintiff’s claim for breach of contract includes the
  23
  23   following:
  24
  24                  Policy;
  25
  25                  Testimony from Plaintiff and his family members and Defendant New
  26
  26                   York Life’s representatives regarding coverage;
  27
  27                  Documents from Defendant’s claims file;
  28
  28

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   1                Correspondence between the parties and their respective representatives
   2                 regarding coverage; and
   3                Pleadings and discovery filed and served in this lawsuit.
   4                 2.    Declaratory Relief
   5         The evidence in support of Plaintiff’s claim for declaratory relief includes the
   6   evidence identified in Section 7(c)(10).
   7

   8   Defendant’s Claims:
   9         (d)     New York Life plans to pursue the following affirmative defenses:
  10
  10                First Affirmative Defense: Failure to state a claim upon which relief can
  11
  11                 be granted.
  12
  12                Second Affirmative Defense: No Causation.
  13
  13                Third Affirmative Defense: Waiver and/or Estoppel.
  14
  14                Fourth Affirmative Defense: Failure to Mitigate.
  15
  15                Fifth Affirmative Defense: Intervening/superseding cause.
  16
  16                Sixth Affirmative Defense: Plaintiff’s failure to cooperate during the
  17
  17                 claim investigation.
  18
  18                Seventh Affirmative Defense: Express terms and conditions in the
  19
  19                 subject contract.
  20
  20                Eighth Affirmative Defense: [Withdrawn].
  21
  21                Ninth Affirmative Defense: Misrepresentations in the Application.
  22
  22                Tenth Affirmative Defense: Unclean hands, unjust enrichment, and/or
  23
  23                 laches.
  24
  24                Eleventh Affirmative Defense: California Insurance Code Section
  25
  25                 10111.
  26
  26                Twelfth Affirmative Defense: California Code of Civil Procedure
  27
  27                 Section 1021.
  28
  28

                                                     4
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   1                Thirteenth Affirmative Defense: California Civil Code Sections 3294
   2                 and 3295.
   3                Fourteenth Affirmative Defense: Fourteenth Amendment procedural due
   4                 process provision of the Constitution of the United States of America
   5                 and/or the Article 1, § 7 procedural due process provision of the
   6                 Constitution of the State of California.
   7                Fifteenth Affirmative Defense: Article 1, § 17 excessive fines provision
   8                 of the Constitution of the State of California.
   9                Sixteenth Affirmative Defense: Article 1, § 10 contracts clause of the
  10
  10                 Constitution of the United States of America and/or the Article 1, § 9
  11
  11                 contracts clause of the Constitution of the State of California.
  12
  12                Seventeenth Affirmative Defense: Punitive damages must be reasonable.
  13
  13                Eighteenth Affirmative Defense: Genuine dispute doctrine.
  14
  14                Nineteenth Affirmative Defense: Defendant acted in good faith.
  15
  15                Twentieth Affirmative Defense: Lack of insurable interest.
  16
  16         (e)     The elements required to establish New York Life’s affirmative
  17
  17   defenses are as follows:
  18
  18                First Affirmative Defense: That no valid contract existed, because (1)
  19
  19                 there was a forgery of Richard Stevens’ signature on the life insurance
  20
  20                 application or (2) there was a misrepresentation of the relationship
  21
  21                 between Richard Stevens and Laura Mitchell, as well as
  22
  22                 misrepresentations of the biographical information about the insured, on
  23
  23                 the life insurance application.
  24
  24                Second Affirmative Defense: Plaintiff’s damages were caused by his
  25
  25                 failure to cooperate with Defendant New York Life’s claims
  26
  26                 investigation.
  27
  27                Third Affirmative Defense: (1) Plaintiff knew Defendant was
  28
  28                 conducting a claims investigation; and (2) Plaintiff freely and knowingly
                                                      5
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   1              gave up his right to coverage by refusing to cooperate with Defendant’s
   2              claim investigation.
   3             Fourth Affirmative Defense: If Defendant breached the contract and the
   4              breach caused harm, Plaintiff is not entitled to recover damages for harm
   5              that Defendant proves Plaintiff could have avoided with reasonable
   6              efforts or expenditures.
   7             Fifth Affirmative Defense: Damages alleged to have been suffered by
   8              Plaintiff were proximately caused by or contributed to by acts or failures
   9              to act of persons other than this answering Defendant, which acts or
  10
  10              failures to act constitute an intervening and superseding cause of the
  11
  11              damages alleged in the Complaint.
  12
  12             Sixth Affirmative Defense: Plaintiff’s bad faith claim was dismissed on
  13
  13              March 16, 2021. In any event, the causes of action and/or relief sought
  14
  14              should be barred and/or precluded by virtue of Plaintiff’s failure to
  15
  15              cooperate during the claim investigation.
  16
  16             Seventh Affirmative Defense: The causes of action and/or relief sought
  17
  17              should be barred and/or precluded pursuant to the express terms and
  18
  18              conditions contained in the subject contract, including but not limited to
  19
  19              the life insurance certificate’s contestability provision.
  20
  20             Eighth Affirmative Defense: Plaintiff’s claim is barred, in whole or in
  21
  21              part, by Plaintiff’s failure to comply with the provisions of the subject
  22
  22              contract, including but not limited to the life insurance certificate’s
  23
  23              contestability provision.
  24
  24             Ninth Affirmative Defense: Plaintiff is barred from any recovery based
  25
  25              on misrepresentations made in connection with the claim for insurance
  26
  26              benefits. The application misrepresented the sibling relationship
  27
  27              between Mr. Stevens and Ms. Mitchell. Plaintiff now admits that Mr.
  28
  28              Stevens and Ms. Mitchell are not biologically or legally related. The
                                                 6
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   1              application also includes misrepresentations regarding Richard Stevens’
   2              age and cardiac health. This is grounds for rescission. See Cal. Ins.
   3              Code § 10113.5; Ariz. Rev. Stat. § 20-1204; North American Co. for
   4              Life and Health Ins. v. Rypins, 29 F.Supp.2d 619, 623 (N.D. Cal. 1998);
   5              Greves v. Ohio State Life Ins. Co., 170 Ariz. 66, 70, 821 P.2d 757, 761
   6              (1991).
   7             Tenth Affirmative Defense: The Complaint, and each of its alleged
   8              causes of action, is barred by the doctrines of waiver, estoppel, unclean
   9              hands, unjust enrichment, and/or laches.
  10
  10             Eleventh Affirmative Defense: Plaintiff’s bad faith claim was dismissed
  11
  11              on March 16, 2021. In any event, Plaintiff’s claim for extra-contractual
  12
  12              damages is barred by the provisions of California Insurance Code
  13
  13              Section 10111.
  14
  14             Twelfth Affirmative Defense: Plaintiff’s bad faith claim was dismissed
  15
  15              on March 16, 2021, and thus it has no basis to claim attorneys’ fees. In
  16
  16              any event, Plaintiff’s claim for attorneys’ fees is barred by the provisions
  17
  17              of California Code of Civil Procedure Section 1021.
  18
  18             Thirteenth Affirmative Defense: Plaintiff’s bad faith claim was
  19
  19              dismissed on March 16, 2021, and thus it has no basis to claim punitive
  20
  20              damages. In any event, Plaintiff’s alleged claim for punitive damages is
  21
  21              barred by the provisions of California Civil Code Sections 3294 and
  22
  22              3295.
  23
  23             Fourteenth Affirmative Defense: Plaintiff’s bad faith claim was
  24
  24              dismissed on March 16, 2021, and thus it has no basis to claim punitive
  25
  25              damages. In any event, Plaintiff’s claim for punitive damages is barred
  26
  26              by the Fourteenth Amendment procedural due process provision of the
  27
  27              Constitution of the United States of America and/or the Article 1, § 7
  28
  28

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    1              procedural due process provision of the Constitution of the State of
    2              California.
    3             Fifteenth Affirmative Defense: Plaintiff’s bad faith claim was dismissed
    4              on March 16, 2021, and thus it has no basis to claim punitive damages.
    5              In any event, Plaintiff’s claim for punitive damages is barred by the
    6              Article 1, § 17 excessive fines provision of the Constitution of the State
    7              of California.
    8             Sixteenth Affirmative Defense: Plaintiff’s bad faith claim was dismissed
    9              on March 16, 2021, and thus it has no basis to claim punitive damages.
   10
   10              In any event, Plaintiff’s claim for punitive damages is barred by the
   11
   11              Article 1, § 10 contracts clause of the Constitution of the United States
   12
   12              of America and/or the Article 1, § 9 contracts clause of the Constitution
   13
   13              of the State of California.
   14
   14             Seventeenth Affirmative Defense: Plaintiff’s bad faith claim was
   15
   15              dismissed on March 16, 2021, and thus it has no basis to claim punitive
   16
   16              damages. In any event, any punitive damages must be reasonable in
   17
   17              terms of the guideposts established by the United States Supreme Court
   18
   18              in BMW of North America, Inc. v. Gore, 517 U.S. 559, 116 S. Ct. 1589,
   19
   19              134 L. Ed. 2d 809 (1996), and refined in State Farm Mut. Auto. Ins. Co.
   20
   20              v. Campbell, 538 U.S. 408, 123 S. Ct. 1513, 155 L. Ed. 2d 585 (2003)
   21
   21              pertaining to: (1) the degree of reprehensibility of Defendant’s conduct;
   22
   22              (2) the actual harm inflicted; and (3) the civil or criminal penalties that
   23
   23              could be imposed for comparable conduct.
   24
   24             Eighteenth Affirmative Defense: Plaintiff’s bad faith claim was
   25
   25              dismissed on March 16, 2021. In any event, Plaintiff’s claim for bad
   26
   26              faith is barred by the genuine dispute doctrine.
   27
   27

   28
   28

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    1               Nineteenth Affirmative Defense: Plaintiff’s bad faith claim was
    2                 dismissed on March 16, 2021. In any event, Defendant continues to act
    3                 in good faith.
    4               Twentieth Affirmative Defense: Plaintiff’s claims are barred by a lack of
    5                 insurable interest, rendering the policy void from its inception. Plaintiff
    6                 cannot show an insurable interest in Richard Stevens’ life. The law
    7                 provides that (1) an insurable interest exists where individuals are
    8                 “related closely by blood or by law,” Ariz. Rev. Stat. Ann. § 20-1104;
    9                 Cal. Ins. Code §10110.1; (2) “an insurance policy is void ab initio where
   10
   10                 the insured lacks an insurable interest,” and as such, “may be contested
   11
   11                 at any time, even after the incontestability period has expired,” Paul
   12
   12                 Revere Life Ins. Co. v. Fima, 105 F.3d 490, 492 (9th Cir. 1997); and (3)
   13
   13                 “the burden of proving insurable interest [is] on the party asserting
   14
   14                 coverage under the insurance policy,” Zurich Life Ins. Co. of America v.
   15
   15                 Zoo Stage, Inc., 186 Fed. App’x. 768, 768-69 (9th Cir. 2006).
   16
   16        (f)      In brief, the key evidence New York Life relies on for each
   17
   17   counterclaim is:
   18
   18               Policy.
   19
   19               Testimony from Plaintiff and his family members and Defendant New
   20
   20                 York Life’s representatives regarding coverage.
   21
   21               Documents from Defendant’s claims file.
   22
   22               Correspondence between the parties and their respective representatives
   23
   23                 regarding coverage.
   24
   24               Pleadings and discovery filed and served in this lawsuit.
   25
   25   8.   ULTIMATE ISSUES REMAINING TO BE TRIED
   26
   26               Whether the Policy lapsed due to nonpayment and was most recently
   27
   27                 reinstated on February 2, 2018.
   28
   28

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    1                 Whether the signature on the application was knowingly signed by
    2                   Richard Stevens.
    3                 Whether the application misrepresented the relationship between Richard
    4                   Stevens and Laura Mitchell.
    5                 Whether Frankie or Laura Mitchell had an insurable interest in the life of
    6                   Richard Stevens.
    7   9.     DISCOVERY
    8          Discovery is complete.
    9   10.    DISCLOSURES
   10
   10          All disclosures under Fed. R. Civ. P. 26(a)(3) have been made. The joint
   11
   11   exhibit list of the parties was filed under separate cover as required by L.R. 16-6.1
   12
   12   (Dkt. No. 43).
   13
   13   11.    WITNESS AND DEPOSITION TESTIMONY
   14
   14          Witness lists of the parties have been filed with the Court (Dkt. No.). Only the
   15
   15   witnesses identified in the lists will be permitted to testify (other than solely for
   16
   16   impeachment).
   17
   17          The parties do not intend to present evidence by way of deposition testimony.
   18
   18   12.    LAW AND MOTION MATTERS AND MOTIONS IN LIMINE
   19
   19          The following law and motion matters and motions in limine, and no others,
   20
   20   are pending or contemplated:
   21
   21          (a)      Plaintiff’s Motions in Limine:
   22
   22                   (1)   Motion in Limine No. 1 to Exclude “Undisclosed” Handwriting
   23
   23   Expert (Dkt. No. 41).
   24
   24                   (2)   Motion in Limine No. 2 to Exclude “Unproduced” Documents
   25
   25   (Dkt. No. 42).
   26
   26          (b)      Defendant’s Motions in Limine:
   27
   27                  (1)    Motion in Limine No. 1 to Exclude Evidence and Argument Re:
   28
   28                   Bad Faith (Dkt. No. 45).
                                                       10
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    1               (2)     Motion in Limine No. 2 to Permit Testimony from Handwriting
    2   Expert (Dkt. No. 46).
    3   13.   BIFURCATION
    4         To the extent that the Court permits evidence of bad faith and punitive
    5   damages, which were previously dismissed on summary judgment, the determination
    6   of the amount of punitive damages, if any, should be bifurcated from the trial on all
    7   other issues.
    8   14.   ORDER SUPERSEDES PLEADING
    9         The foregoing admissions have been made by the parties, and the parties
   10
   10   having specified the foregoing issues remaining to be litigated, this Final Pretrial
   11
   11   Conference Order shall supersede the pleadings and govern the course of the trial of
   12
   12   this cause, unless modified to prevent manifest injustice.
   13
   13

   14
   14
        Dated:                           _____________________________________
   15
   15                                    HON. MARC C. SCARSI
                                         UNITED STATES DISTRICT COURT JUDGE
   16
   16

   17
   17

   18
   18

   19
   19   Approved as to form and content.
   20
   20   DATED: June 4, 2021               ADEPT LAW FIRM
   21
   21
                                          By:          /s/ Joseph Fogel
   22
   22                                         JOSEPH FOGEL
                                          Attorneys for Plaintiff
   23
   23

   24
   24   DATED: June 4, 2021              KASOWITZ BENSON TORRES LLP
   25
   25
                                         By:          /s/ Melissa Dejoie
   26
   26                                          Melissa Dejoie
                                         Attorneys for Defendant
   27
   27

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